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8                             UNITED STATES DISTRICT COURT
9                           NORTHERN DISTRICT OF CALIFORNIA
10                                (SAN FRANCISCO DIVISION)

11

12
                                                  District Court Case: 3:22-cv-00142-JSC
13   TRI MINH HUYNH,                              Ninth Cir. Case: 22-16181
14          Plaintiff,
                                                  PLAINTIFF’S SECOND AMENDED
15             v.                                 NOTICE OF APPEAL TO THE UNITED
16                                                STATES COURT OF APPEALS FOR
     Walmart Inc., a Delaware Corporation; Doug   THE NINTH CIRCUIT
17   McMillon; Brett Biggs; Marc Lore;
     The deRubertis Law Firm; David deRubertis;
18   BOFA SECURITIES, Inc., a Delaware Cor-
     poration; Robert F. Ohmes
19

20   Defendant(s).
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28           PLAINTIFF’S SECOND AMENDED NOTICE OF APPEAL TO THE UNITED STATES
                           COURT OF APPEALS FOR THE NINTH CIRCUIT
           District Court’s Case No: 3:22-cv-00142-JSC; Ninth Circuit’s Case No: 22-16181
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1           On August 5, 2022, Plaintiff/Appellant, Tri Minh Huynh, acting Pro Se, filed his First

2    Amended Notice of Appeal to the United States Court of Appeals for the Ninth Circuit to narrow

3    the scope of his original Notice of Appeal (Dkt. 243). Plaintiff/Appellant narrowed the scope of

4    his original appeal in three ways. First, he reduced the number of Defendants/Appellees from 14

5    to 8. Second, he reduced the scope of his claims against the Defendants from RICO, RICO Con-

6    spiracy, and Biven Actions to RICO and RICO Conspiracy. Third, he reduced the scope of the

7    reliefs sought against the Defendants for the loss of Huynh I and the loss of his SEC Whistle-

8    blower reward to only the loss of his SEC Whistleblower reward.

9           The table below provides a side-by-side comparison between the scope of the first

10   amended notice of appeal (Dkt. 245) and the original notice of appeal (Dkt. 243).

11
         Areas               Original Notice of Appeal                 First Amended Notice of Appeal
12                                                                            (Narrower Scope)
                    •   Walmart Inc.; Doug McMillon; Brett         •     Walmart Inc.; Doug McMil-
13
                        Biggs; and Marc Lore Defendants.                 lon; Brett Biggs; and Marc
14                  •    GIBSON, DUNN & CRUTCHER LLP;                    Lore Defendants.
                        Theodore J. Boutrous Jr. and Rachel S.     •     The deRubertis Law Firm,
15                      Brass Defendants.                                APC and David deRubertis
16                  •   The deRubertis Law Firm, APC and Da-             Defendants.
                        vid deRubertis.                            •     BOFA Securities, Inc. and
17                  •   BOFA Securities, Inc. and Robert                 Robert Ohmes Defendants.
18    Named             Ohmes Defendants.                          •     These Defendants will be col-
      Defendants •      Epiq eDiscovery Solutions, Inc., and             lectively called the Defendants
19                      Douglas Kasales Defendants.                      in this filing.

20                  •   Lighthouse Document Technologies,
                        Inc. Defendant.
21
                    •   RICO                                       •     RICO
22
                    •   RICO Conspiracy                            •     RICO Conspiracy
      Claims
23                  •   Bivens Action                              •     Damages sought.
24                  •   Damages sought.                                 o Loss of SEC Whistleblower
                        o Loss of Huynh I                                  reward under Section 15
25                                                                         U.S.C. §78u-6(b)(1) of the
                        o Loss of SEC Whistleblower reward
                                                                           Dodd-Frank Act.
                           under Section 15 U.S.C. §78u-
26
                           6(b)(1) of the Dodd-Frank Act.
27

28             PLAINTIFF’S SECOND AMENDED NOTICE OF APPEAL TO THE UNITED STATES
                             COURT OF APPEALS FOR THE NINTH CIRCUIT
            District Court’s Case No: 3:22-cv-00142-JSC; Ninth Circuit’s Case No: 22-16181
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1            On September 1st, 2022, Plaintiff/Appellant timely filed a Motion for Partial Reconsidera-

2    tion, under F.R.C.P Rule 59(e) with an embedded Rule 15(a)(2) motion and the attached the pro-

3    posed Verify Second Amended Complaint. (See Dkt. 247).

4            In his motions, Plaintiff/Appellant requested District Judge Corley for a partial reconsid-

5    eration of the Aug 4th, 2022’s rulings (Dkt. 240 and 241). Specifically, the Plaintiff/Appellant

6    sought two reliefs from District Judge Corley.

7       1.    Amends the August 4, 2022’s Order and the Final Judgement entered in favor of the De-

8             fendants (Dkt. 240 and 241) by issuing an Order to deny the Defendants’ Motions to

9             Dismiss the Plaintiff’s/Appellant’s Verify First Amended Complaint, specifically with

10            regard to the Plaintiff’s/Appellant’s RICO and RICO Conspiracy claims and the loss of

11            the Plaintiff’s/Appellant’s SEC Whistleblower reward. Issues an Order to the Clerk of

12            Court to reopen Plaintiff’s/Appellant’s case.

13                                         OR in the Alternative

14      2.    Evaluates and grants the Plaintiff’s/Appellant’s Rule 15(a)(2) Motion embedded inside

15            the Appellant’s Rule 59(e) Motion, see Dkt. 253; 254; 254-1 to 254-5, to allow the Ap-

16            pellant, acting Pro Se, an opportunity to file the attached proposed Verify Second

17            Amended Complaint to amend his Verify First Amended Complaint.

18
             Subsequently, the Walmart Inc. Defendants and the deRubertis Law Firm, APC Defend-
19
     ants filed their opposition briefs by the deadline set on September 15th, 2022. See Dkt. 250 and
20
     251. However, the BOFA Securities, Inc. Defendants filed their Joinder to the deRubertis Inc.’s
21
     and the Walmart Inc.’s opposition briefs after the deadline set by District Judge Corley. See Dkt.
22
     252. The Plaintiff/Appellant timely filed his reply brief on September 22nd, 2022. See Dkt. 253,
23
     254, 254-1 to 254-5. On September 30th, 2022, District Judge Corley issued an order (Dkt. 255),
24
     denying both the Appellant’s Rule 59(e) Motion and the embedded Rule 15(a)(2) Motion to
25
     amend the Verify First Amended Complaint. See Dkt. 255.
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28            PLAINTIFF’S AMENDED NOTICE OF APPEAL TO THE UNITED STATES
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1            In summary, for the Second Amended Notice of Appeal, the Plaintiff/Appellant wants to

2    appeal District Judge Corley’s August 4 and Sept 30, 2022’s rulings and seeks the following re-

3    liefs from the United States Court of Appeals for the Ninth Circuit.

4       1.    Reversal of Judge’s Corley’s dismissal of the Appellant’s RICO and RICO Conspiracy
5             Claims and for the loss of his SEC Whistleblower reward against the Defendants and
              order the District Court’s Clerk of Court to reopen the Appellant’s case against the De-
6             fendants. Dkt. 240 and 241.

7       2.    Reversal of Judge’s Corley’s rulings denying the Appellant’s Rule 59(e) Motion for Par-
              tial Reconsideration and Rule 15(a)(2) motion embedded inside the Rule 59(e) Motion.
8             See Dkt. 255.

9

10   DATED: October 4th, 2022                         Respectfully Submitted
11                                                    By: s/Tri Minh Huynh
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28            PLAINTIFF’S AMENDED NOTICE OF APPEAL TO THE UNITED STATES
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